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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í43)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 812 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

                Jul 16, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                MDL No. 2804



                  SCHEDULE CTOí43 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ARIZONA

                                   National Roofers Union & Employers Joint Health &
  AZ         2       18í01949      Welfare Fund v. Purdue Pharma LP et al

FLORIDA NORTHERN

                                   SANTA ROSA COUNTY v.
  FLN        3       18í01439      AMERISOURCEBERGEN DRUG CORPORATION et
                                   al

GEORGIA SOUTHERN

                                   Dodge County Hospital Authority v.
  GAS        3       18í00048      Amerisourcebergen Drug Corporation et al
                                   Evans Memorial Hospital, Inc. v. Amerisourcebergen
  GAS        6       18í00070      Drug Corporation et al

INDIANA SOUTHERN

                                   THE BOARD OF COMMISSIONERS OF THE
  INS        1       18í01647      COUNTY OF FRANKLIN v. PURDUE PHARMA L.P.
                                   et al
  INS        1       18í01731      MORGAN COUNTY v. PURDUE PHARMA L.P. et al

MISSISSIPPI SOUTHERN

                                   Adams County, Mississippi v. Amerisourcebergen Drug
  MSS        5       18í00066      Corporation et al
                                   Jefferson County, Mississippi v. Amerisourcebergen
  MSS        5       18í00067      Drug Corporation et al

NEW MEXICO

  NM         1       18í00507      San Juan County v. Purdue Pharma L.P. et al

NEW YORK SOUTHERN
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                                   Plumbers Local Union No. 1 Welfare Fund v. Purdue
  NYS       1        18í04750      Pharma L.P. et al

SOUTH CAROLINA

                                   Spartanburg, County of v. Rite Aid of South Carolina
  SC        7        18í01799      Inc et al Opposed 7/13/18

WISCONSIN EASTERN

  WIE        2       18í00819      Green Lake County et al v. Purdue Pharma LP et al
